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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EAS TERN DIVISION
REGINALD MICHAEL GRAY, )
Plaintiff, §
VS. § No. 03-1241-T-An
RICK STAPLES, et al., §
Defendant g

 

ORDER TO SHOW CAUSE

 

Plaintiff Reginald Michael Gray filed a complaint pursuant to 42 U.S.C. § 1983 on
September 15, 2003. On April 2, 2004, an order was entered dismissing Jerry Gist and Rick
Staples as defendants and ordering service of process for Defendant Peaches Brown.
Although Milton Dale Conder, Jr., filed a notice of appearance on behalf of Defendant
Brown on August 6, 2004, Defendant has failed to file an answer or to otherwise respond
to the complaint Plaintiff, however, has not filed a request for entry of default and motion
for default judgment

Plaintiff is hereby ORDERED to SHOW CAUSE within twenty (20) days of the entry
of this order why the action against Defendant Brown should not be dismissed for failure

to prosecute

Thls document entered on the docket sheet in compliance
wah nule ss and/or 79 (a} FscP on 5 l l 0 l 05

 

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Failure to respond will result in the dismissal of the action. S_e_§_ Fed. R. Civ. P. 41 (b).

IT IS SO ORDERED.

Qa/WLM

JAM ES D. TODD
UNITED STATES DISTRICT JUDGE

/
,Q-MS

DATE l "

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 19 in
case 1:03-CV-01241 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

Milton Dale Conder

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Reginald Michael Gray

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P.O. Box 3000

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Honorable .1 ames Todd
US DISTRICT COURT

